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                             Nebraska Court of Appeals Advance Sheets
                                  29 Nebraska Appellate Reports
                                                SIGNAL 88 v. LYCONIC
                                                Cite as 29 Neb. App. 533



                                        Signal 88, LLC, appellant, v.
                                          Lyconic, L.L.C., appellee.
                                                     ___ N.W.2d ___

                                        Filed February 23, 2021.   No. A-19-1069.

                 1. Arbitration and Award: Appeal and Error. In reviewing a decision
                    to vacate, modify, or confirm an arbitration award, an appellate court is
                    obligated to reach a conclusion independent of the trial court’s ruling as
                    to questions of law. However, the trial court’s factual findings will not
                    be set aside on appeal unless clearly erroneous.
                 2. Arbitration and Award. The Uniform Arbitration Act does not allow
                    for the exercise of discretion by the court when a request for confirma-
                    tion is made and there is no pending application for vacation, modifica-
                    tion, or correction.
                 3. Statutes: Words and Phrases. As a general rule, the word “shall”
                    in a statute is considered mandatory and is inconsistent with the idea
                    of discretion.
                 4. Arbitration and Award. An ambiguous award should be remanded to
                    the arbitrators so that the court will know exactly what it is being asked
                    to enforce.

                  Appeal from the District Court for Douglas County: Marlon
               A. Polk, Judge. Reversed and vacated, and cause remanded for
               further proceedings.
                 Michael T. Eversden and Brian McKernan, of McGrath,
               North, Mullin &amp; Kratz, P.C., L.L.O., for appellant.
                 Michael S. Degan, of Dvorak Law Group, L.L.C., for
               appellee.
                    Bishop, Arterburn, and Welch, Judges.
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                      SIGNAL 88 v. LYCONIC
                      Cite as 29 Neb. App. 533
  Welch, Judge.
                       INTRODUCTION
   Signal 88, LLC, appeals the order of the Douglas County
District Court confirming an arbitration agreement relating to
a dispute over the proper termination of a contract concern-
ing software licensing between Signal 88 and Lyconic, L.L.C.
Signal 88 contends that the district court erred by modifying
the arbitrator’s award rather than simply confirming it. For the
reasons set forth here, we reverse and vacate, and remand for
further proceedings.
                    STATEMENT OF FACTS
   On June 6, 2011, Signal 88 contracted with Lyconic to
provide certain software services to Signal 88 to assist in the
operation of its security-related service business. Pursuant to
§§ 1.9 and 9.1 of the parties’ contract, the initial term of the
contract was 3 years, and under § 9.2, Signal 88 was entitled
to renew the contract for up to three additional 2-year renewal
terms. Pursuant to § 6.1 of the contract, Lyconic was to be paid
$25,000 per month for the first year of the initial term, while
the payment obligation rose to $30,000 per month for the sec-
ond and third years of the initial term. The contract contained
corresponding rate increases during the renewal terms if those
renewal terms were exercised.
   Section 9.2 of the contract provided that if Signal 88 desired
to exercise its right to renew the contract past the initial term,
it must provide notice to Lyconic at least 60 days prior to the
expiration of the initial term. Section 9.4(d) provided the fol-
lowing in the event of termination of the contract:
     Termination Assistance. Lyconic shall cooperate fully
     with [Signal 88] so as to achieve a smooth transition of
     all records and data and services without disruption to the
     Business. At the written request of [Signal 88], Lyconic
     will provide [Signal 88] (for the benefit of [Signal 88]
     and the Franchisees) with reasonable assistance for up
     to one hundred eighty (180) days relating to the transi-
     tion to another vendor or to [Signal 88]; provided that all
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                      SIGNAL 88 v. LYCONIC
                      Cite as 29 Neb. App. 533
      such assistance shall be billed to [Signal 88] at Lyconic’s
      then current hourly rate.
   The parties subsequently amended the agreement prior to
the expiration of the initial term. As relevant to this appeal, on
February 14, 2014, the parties agreed to the following language
in “Addendum #1”: “Lyconic to agree to decrease the Service
Fee (Section 6 - Fees and Payments, 6.1) from $30,000 per
month to $25,000 retroactive to February 1, 2014.” Addendum
#1 further provided:
           The parties agree to execute a new Addendum before
      the Initial Term expires on June 6, 2014[,] addressing the
      following:
      •  Renewal (Section 9 — Term, Default, and Termination,
         9.2) to be redefined as month-to-month, at the renewal
         rate of $25,000 per month, with a required 30 days
         advanced notice of [Signal 88’s] intent to terminate
         contract.
      •  Termination Assistance (Section 9 — Term, Default,
         and Termination, 9.4 d) shortened to 30 days after
         contract termination. [Signal 88] can optionally extend
         Termination Assistance in exchange for a proportion-
         ate amount of additional advanced termination notice[,]
         i.e. [i]f 60 days Termination Assistance, then 60 days
         advanced notice of termination.
   Nearly 2 years after the parties executed the addendums
and while the contract continued past the initial term on a
month-to-month basis, on February 5, 2016, Signal 88 notified
Lyconic of its intention to change software vendors and termi-
nate the contract sometime during the spring or summer of that
year. On February 29, Lyconic responded with its own written
notice of nonrenewal, stating it would not renew the agreement
beyond the current monthly term, that the Agreement would
expire on March 6, and that Lyconic would provide termination
assistance until April 6.
   Signal 88 responded to Lyconic’s termination notice on
March 1, 2016. It disputed the validity of Lyconic’s “purported
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                      SIGNAL 88 v. LYCONIC
                      Cite as 29 Neb. App. 533
termination notice” and stated that “[a]lthough Signal 88 has
previously given Lyconic notice of termination, this letter
shall also serve as written notice to Lyconic that, pursuant to
Section 18 of the Agreement, Signal 88 intends to terminate
the Agreement effective as of midnight on July 1, 2016 (the
‘Termination Date’).” The letter also addressed the concept of
termination assistance in connection with the notice of termina-
tion. Specifically, Signal 88 provided:
         Certain provisions and obligations under the Agreement
      continue after the Termination Date, including but not
      limited to Lyconic’s obligation to provide Termination
      Assistance, as defined in the Agreement. By this letter,
      Signal 88 requests such Termination Assistance, which,
      as provided in Addendum #2, should extend for 122 days
      after the Termination Date.
   On March 3, 2016, due to the competing positions governing
termination of the contract, Signal 88 commenced this lawsuit
(the lawsuit) in the Douglas County District Court, seeking a
“Declaratory Judgment and Injunction” relating to this dispute
and specifically praying as follows:
         WHEREFORE, [Signal 88] prays that the Court enter
      a judgment:
         1. Determining the rights and obligations of the par-
      ties with respect to the termination of the Agreement,
      specifically determining that [Lyconic] has no right to
      terminate the Agreement as of March 6, 2016[,] and that
      the Agreement will terminate on July 1, 2016;
         2. Determining the rights and obligations of the par-
      ties under the Agreement with respect to the termination
      services, specifically determining that [Lyconic] has no
      right to cease providing termination services after April 6,
      2016[,] and that such services must continue for at least
      122 days after July 1, 2016, if [Signal 88] should require
      such services;
         3. Preliminarily and permanently enjoining [Lyconic]
      from terminating the Agreement before July 1, 2016;
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                      SIGNAL 88 v. LYCONIC
                      Cite as 29 Neb. App. 533
        4. Preliminarily and permanently enjoining [Lyconic]
     from terminating or otherwise altering the Software or
     Services [Lyconic] is obligated to provide to [Signal 88]
     under the Agreement before July 1, 2016[,] and the termi-
     nation services [Lyconic] is obligated to provide for 122
     days thereafter;
        5. Awarding [Signal 88] damages in an amount to be
     determined at trial; and
        6. Awarding [Signal 88] such other and further relief as
     is just and proper.
   On March 11, 2016, after the lawsuit was filed, the district
court entered an order which stated that pursuant to § 23 of the
contract, the parties were given 30 days to arbitrate “this dis-
pute,” and that “the status quo shall be preserved with respect
to the parties’ business relationship and their respective rights
and obligations” until further order of the court.
   On April 13, 2016, the parties submitted the dispute con-
tained within the lawsuit to an arbitrator. In a written opinion
issued by the arbitrator on April 25, 2016, as relevant to this
appeal, the arbitrator framed the issues for the arbitrator’s con-
sideration as follows:
        In discussions with counsel for the parties prior to
     the submission of arguments and evidence, the arbitra-
     tor requested the parties to list those issues the parties
     believe should be resolved by arbitration. Lyconic listed
     the issues as follows:
        (1) Whether Lyconic’s Notice of Nonrenewal was
     effective notice of Lyconic’s intent to not renew sufficient
     to end further renewal and terminate the Agreement.
        (2) Whether Signal 88’s Notice of Termination is
     a Nullity.
        (3) The duration and extent of Termination Assistance
     that Lyconic must provide Signal 88.
        (4) The extent of Lyconic’s post-termination exclusivity/
     non-solicitation/non-compete obligations.
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                       SIGNAL 88 v. LYCONIC
                       Cite as 29 Neb. App. 533
         (5) Whether Masterguide is subject to Arbitration, and
      if so, whether Lyconic has any obligation to continue
      allowing Signal 88 to access Masterguide.
         Signal 88 listed two issues for determination:
         (1) Which party’s notice of termination/nonrenewal
      was valid and determine the date of termination and
      the date Lyconic must continue to provide Termination
      Services; and
         (2) Whether the services provided through what has
      been called Masterguide are included in the monthly
      charge under the parties’ agreement, as amended, or are to
      be billed separately as Lyconic now contends.
   After reviewing the record provided to the arbitrator, as it
relates to matters relevant to this appeal, the arbitrator found:
         It is the decision of the arbitrator that Lyconic’s letter
      of February 29[, 2016,] did not terminate the Agreement,
      as modified by the Addendums, effective March 6,
      2016. Rather, the notice of termination by Signal 88 on
      March 1, 2016[,] effectively terminated the contract as
      of July 1, 2016. In providing this notice Signal 88 pro-
      vided 122 days advance notice and therefore can request
      an equal amount of days of termination assistance.
      Accordingly, Lyconic’s obligation to provide termination
      assistance extends 122 days from the termination date,
      expiring November 11, 2016. Signal 88 is obligated to
      pay for Lyconic’s services at the renewal rate of $25,000
      per month.
   Following the arbitrator’s decision, Lyconic filed an
application with the district court to confirm the arbitration
award. While that application was pending, Lyconic filed an
answer to the original lawsuit acknowledging that “the arbi-
trator issued a final decision and award resolving the issues
framed by the Complaint, which is binding upon the parties,”
but included a new counterclaim which it alleged was not
resolved by the arbitrator or subject to the arbitration agree-
ment. Lyconic later amended that counterclaim to add addi-
tional allegations that—following the arbitrator’s decision, but
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                      SIGNAL 88 v. LYCONIC
                      Cite as 29 Neb. App. 533
prior to termination—Signal 88 “[u]nlawfully [h]ack[ed]” into
Lyconic’s computers, began downloading information from
its servers, and wrongfully disclosed confidential information
it obtained.
   Prior to trial in this matter, both parties moved for partial
summary judgment. Lyconic’s motion for partial summary
judgment alleged that Signal 88’s direct claim in the lawsuit
was resolved by arbitration; that the district court’s prior email
suggesting it would grant the prior application for confirma-
tion was, in fact, a confirmation of the arbitrator’s award; and
that pursuant to the terms of the arbitrator’s award, Lyconic
was entitled to both pretermination services in the amount
of $25,000 per month and posttermination assistance service
fees for 122 days of posttermination assistance at the rate of
$25,000 per month. Signal 88’s motion for partial summary
judgment argued it was entitled to summary judgment on
Lyconic’s counterclaim.
   Following a hearing on the parties’ partial summary judg-
ment motions, the district court orally stated it would grant
only Lyconic’s partial summary judgment motion governing
Signal 88’s direct claim in the lawsuit, but would move for-
ward with a bench trial governing Lyconic’s counterclaim.
Following that trial, the district court entered judgment in
favor of Lyconic on its counterclaim within the lawsuit (which
has not been appealed), but entered separate orders governing
Signal 88’s direct claims within the lawsuit. In these separate
orders, the district court acknowledged that, although it orally
pronounced from the bench it would grant Lyconic’s motion
for partial summary judgment, based upon its second order, the
ruling was moot. And in that second order, the subject of this
appeal, the district stated, in relevant part:
         On or about May 31, 2016, the Court sent counsel
      for the parties an email informing counsel that the Court
      was granting . . . Lyconic’s Application for Confirmation
      of Arbitration Award &amp; Entry of Judgment. However,
      an Order Confirming the Arbitration Award &amp; Entry of
      Judgment was never entered into the court records.
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   Nebraska Court of Appeals Advance Sheets
        29 Nebraska Appellate Reports
                SIGNAL 88 v. LYCONIC
                Cite as 29 Neb. App. 533
    Section 25-2612 of the Uniform Arbitration Act pro-
vides that, “Within sixty days of the application of a
party, the court shall confirm an award, unless with
the time limits hereinafter imposed grounds are urged
for vacating or modifying or correcting the award,
which case the court shall proceed as provided [in] sec-
tions 25-2613 and 25-2614.” Neb. Rev. Stat. § 25-2612(Reissue 2016); Drummond v. State Farm Mut. Auto.
Ins. Co., 280 Neb. 258, 260 (Neb. 2010) (“Therefore,
when a party applies for confirmation of an award under
§ 25-2612, a district court shall confirm the award unless
a party has moved for vacation, modification, or correc-
tion of the award.”) With regard to vacating an award[,]
the Nebraska Supreme Court stated in Hartman v. City
of Grand Island, 265 Neb. 433, 437 (Neb[.] 2003):
“Moreover, §25-2613 does not include any authorization
for a court to vacate an arbitration award on grounds that
it is excessive or inequitable. Section 25-2613(a)(6) spe-
cifically provides, ‘The fact that the relief was such that
it could not or would not be granted by a court of law or
equity is not a ground for vacating or refusing to confirm
the award.[’]” Id. at 437.
    In the instant case, . . . Lyconic moved for confirma-
tion of the arbitrator’s award within the applicable time
frame and given that the record does not show that a
party moved for vacation, modification or correction of
the arbitrator’s award, this Court must confirm the award.
    THEREFORE, the Court will grant . . . Lyconic’s
Application for Confirmation of [the] Arbitration Award
and will confirm the Arbitration Decision of April 25,
2016[,] wherein the Arbitrator found that Signal 88 is
obligated to pay Lyconic for 122 days of Termination
Assistance at the renewal rate of $25,000 per month.
                 ENTRY OF JUDGMENT
    Judgement is hereby entered in favor of [Lyconic]
and against [Signal 88], in the amount of $109,166.67
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                       SIGNAL 88 v. LYCONIC
                       Cite as 29 Neb. App. 533
     with interest accruing at the rate of 1.5% per month as of
     November 26, 2016.
   Signal 88 filed a motion for new trial or to alter or amend the
September 6, 2019, order, which motion was denied. Signal 88
now appeals the district court’s rulings in the September 6
order and the overruling of its motion for new trial or to alter
or amend.
                 ASSIGNMENTS OF ERROR
   Although Signal 88 assigns eight different assignments of
error, they can generally be restated as claiming that the district
court erred by modifying the arbitrator’s award, rather than
simply confirming it.
                  STANDARD OF REVIEW
   [1] In reviewing a decision to vacate, modify, or confirm
an arbitration award, an appellate court is obligated to reach
a conclusion independent of the trial court’s ruling as to ques-
tions of law. However, the trial court’s factual findings will
not be set aside on appeal unless clearly erroneous. Cinatl v.
Prososki, 307 Neb. 477, 949 N.W.2d 505 (2020).
                           ANALYSIS
   Neither party in this lawsuit disputes the fact that Signal 88’s
direct claim was properly referred by the district court to arbi-
tration; that the arbitrator rendered a decision governing the
matter referred; that pursuant to Lyconic’s application for con-
firmation of arbitration award, the district court was required
to enter a judgment which confirmed the arbitrator’s award; or
that the district court did enter a judgment. Signal 88 simply
argues that the district court’s judgment misstates the arbitra-
tor’s award and requests this court to remand for entry of a
judgment that is consistent with the arbitrator’s award.
   This dispute arises from the final two sentences in the
arbitrator’s decision. After finding that Signal 88 provided
the proper notice of termination of the contract; that the ter-
mination date was July 1, 2016; and that, by providing notice
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                      SIGNAL 88 v. LYCONIC
                      Cite as 29 Neb. App. 533
of termination on March 1, 2016, Signal 88 “provided 122
days advance notice and therefore can request an equal amount
of days of termination assistance,” the arbitrator concluded:
“Accordingly, Lyconic’s obligation to provide termination
assistance extends 122 days from the termination day, expiring
November 11, 2016. Signal 88 is obligated to pay for Lyconic’s
services at the renewal rate of $25,000 per month.”
   The dispute then centers upon the concept of termination
assistance to be “provided” by Lyconic following the termi-
nation date. Based upon Lyconic’s interpretation of the arbi-
trator’s decision, Lyconic urged the court to enter judgment
against Signal 88 for 122 days of posttermination assistance
services at the rate of $25,000 per month, which Lyconic cal-
culated to be $109,166.67, with interest accruing.
   Signal 88 argues that based upon its interpretation of the
arbitrator’s decision, the $25,000 referred to by the arbitrator
governs the pretermination rate and not the posttermination
assistance service rate, and that the arbitrator neither deter-
mined that Signal 88 was obligated to utilize the full 122
days of posttermination services, nor determined the rate to be
charged for such posttermination services. In sum, Signal 88
argues that the arbitrator determined Signal 88’s termination
notice entitled it to request up to 122 hours of posttermina-
tion services and that if it did request those services, Lyconic
was contractually obligated to provide those termination serv­
ices at Lyconic’s then-current hourly rate. In its September
6, 2019, judgment, it is clear that the district court adopted
Lyconic’s interpretation of the arbitrator’s decision as it found
that Signal 88 was obligated to pay Lyconic for 122 days
of termination assistance at the renewal rate of $25,000 per
month and entered judgment against Signal 88 in the amount
of $109,166.67 with interest accruing. It is also clear that the
language in the district court’s order does not directly track
with the language used by the arbitrator.
   [2,3] The applicable law as it relates to this dispute was
recently discussed by the Nebraska Supreme Court in Cinatl
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                      SIGNAL 88 v. LYCONIC
                      Cite as 29 Neb. App. 533
v. Prososki, 307 Neb. 477, 949 N.W.2d 505 (2020). In Cinatl,
the appellant appealed the court’s confirmation of the arbitra-
tion award, arguing the arbitrator failed to consider its fraud
claim, failed to grant rescission, and failed to issue a just
award. But in response to these assignments, the court held:
         But under the circumstances, the district court had no
      option other than to confirm the award. The [Uniform
      Arbitration Act] does not allow for the exercise of discre-
      tion by the court when a request for confirmation is made
      and there is no pending application for vacation, modifi-
      cation, or correction. Under § 25-2612, “the court shall
      confirm an award, unless within the time limits herein­
      after imposed grounds are urged for vacating or modify-
      ing or correcting the award, in which case the court shall
      proceed as provided in sections 25-2613 [vacating an
      award] and 25-2614 [modifying or correcting an award].”
      (Emphasis supplied.) Here, Cinatl sought to vacate the
      award, but the court denied his request. “If the application
      to vacate is denied and no motion to modify or correct the
      award is pending, the court shall confirm the award.” As
      a general rule, the word “shall” in a statute is considered
      mandatory and is inconsistent with the idea of discretion.
      Under the circumstances, the court properly confirmed
      the award.
Cinatl v. Prososki, 307 Neb. at 492, 949 N.W.2d at 517-18.
   Here, like in Cinatl, neither party moved to vacate, mod-
ify, or correct the arbitrator’s award following the filing of
Lyconic’s application to confirm it. Under these circumstances,
the district court was simply required to confirm it.
   But unlike the circumstances in Cinatl, here neither party
is arguing that the award should be vacated, modified, or
corrected as those terms are then defined within the afore-
mentioned statues. The parties simply assert different inter-
pretations and meanings to the words used by the arbitrator in
its award.
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                      SIGNAL 88 v. LYCONIC
                      Cite as 29 Neb. App. 533
   In order to encourage this court to adopt its interpretation,
Signal 88 makes a series of arguments. For instance, Signal 88
argues that Lyconic’s interpretation would result in a decision
by the arbitrator that exceeds the scope of its direct claim
in the lawsuit; exceeds the issues framed by the arbitrator;
contravenes certain language in the contract (termination fees
are only to be charged at Lyconic’s hourly rate and not the
renewal rate); results in inconsistencies in the language of
the arbitration decision if Lyconic’s interpretation is adopted;
and would improperly render the contract an option contract,
et cetera.
   Lyconic likewise encourages this court to adopt its meaning
of the arbitrator’s award, the one adopted by the district court,
while similarly pointing to language in the contract and in the
arbitrator’s decision that supports this interpretation, and by
arguing that the plain language of the arbitrator’s decision sup-
ports the award.
   Unlike cases in which this court is called upon to review
circumstances attendant with motions to vacate, modify, or
correct an award, this case presents a different scenario.
Although it was unquestionably the obligation of the district
court to confirm the arbitrator’s award, the question becomes
this: What is the court’s role when there is a disagreement
as to the meaning of the actual language within the arbitra-
tor’s award which must be reduced to a judgment? Stated
differently, what should the court do when the issue does
not involve vacation, modification, or correction, but simply
requires clarification? Under these circumstances, should the
court attempt to ascertain the arbitrator’s likely meaning of its
chosen words when performing its ministerial task of entering
its judgment?
   Although we could find no prior Nebraska case directly on
point governing this specific issue, we note the Eighth Circuit
Court of Appeals’ decision governing a similar issue in Domino
Group v. Charlie Parker Mem. Foundation, 985 F.2d 417 (8th
Cir. 1993).
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                      SIGNAL 88 v. LYCONIC
                      Cite as 29 Neb. App. 533
   [4] In Domino Group, the Eighth Circuit, after first ­noting
that the failure of either party to timely file a motion to
vacate, modify, or correct reduced the confirmation process to
a summary proceeding to make the final award a judgment of
the court, separately held:
         Second, when Domino filed its timely motion to con-
      firm the arbitrator’s initial award of specific performance,
      the district court properly remanded the case to the arbi-
      trator for clarification of that award. “An ambiguous
      award should be remanded to the arbitrators so that the
      court will know exactly what it is being asked to enforce.”
      Americas Ins. Co. v. Seagull Compania Naviera, 774 F.2d
      64, 67 (2d Cir.1985). Domino sought to convert the arbi-
      trator’s award of specific performance into a court judg-
      ment, that is, an equitable decree in the nature of manda-
      tory injunctive relief. Rule 65(d) of the Federal Rules
      of Civil Procedure provides that, “Every order granting
      an injunction . . . shall be specific in terms [and] shall
      describe in reasonable detail, and not by reference to the
      complaint or other document, the act or acts sought to be
      restrained.” We agree with the district court that a judg-
      ment simply confirming the arbitrator’s initial ambiguous
      award would have been inconsistent with the court’s duty
      to fashion a specific equitable decree that fairly apprised
      the Foundation of its obligations.
985 F.2d at 420.
   Although not argued by either party in its brief, we sepa-
rately note the language in Neb. Rev. Stat. § 25-2610 (Reissue
2016). That section provides:
         On application of a party or, if an application to
      the court is pending under section 25-2612, 25-2613,
      or 25-2614, on submission to the arbitrators by the
      court under such conditions as the court may order,
      the arbitrators may modify or correct the award upon the
      grounds stated in subdivisions (a)(1) and (a)(3) of section
      25-2614 or for the purpose of clarifying the award. The
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                      SIGNAL 88 v. LYCONIC
                      Cite as 29 Neb. App. 533
      application shall be made within twenty days after deliv-
      ery of the award to the applicant. Written notice thereof
      shall be given forthwith to the opposing party, stating he
      or she must serve his or her objections thereto, if any,
      within ten days from the notice. The award so modified or
      corrected is subject to the provisions of sections 25-2612
      to 25-2614.
   Although § 25-2610 allows either party to apply to the
arbitrators to modify or correct the award, under limited cir-
cumstances, or to clarify the award, it also allows the court to
do so while the application to confirm the award is pending.
And although the parties are limited to making this request
to the arbitrators within 20 days after delivery of the award
to the applicant, the court is not likewise constrained. Stated
differently, § 25-2610 provides the court with the authority
to submit to the arbitrators a request for clarification with-
out the same time limitation imposed upon the parties. And
when the court’s role is limited to a summary proceeding,
that is, to enter a judgment in accordance with the award, the
court should exercise its authority under § 25-2610 when it
determines that the language of the award is ambiguous and
requires clarification.
   As the Eighth Circuit noted in Domino Group v. Charlie
Parker Mem. Foundation, supra, once the application was not
met with a motion to vacate, modify, or correct, it was reduced
to a summary proceeding to enter a judgment in accordance
with the award. However, by deviating from the exact language
used by the arbitrator, the district court engaged in a judicial
role rather than performing a ministerial act. Although some
form of deviation may be appropriate when the language of the
arbitrator is clear, it is not allowed when the language of the
arbitrator is ambiguous and requires clarification of the arbitra-
tor’s meaning.
   Although this court could engage in an exercise where it
attempts to construe the likely meaning of the arbitrator’s
last two sentences of the award governing posttermination
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                       SIGNAL 88 v. LYCONIC
                       Cite as 29 Neb. App. 533
serv­ices, we acknowledge there is ambiguity in the arbitrator’s
language here and hold that, under such circumstances, it was
incumbent upon the district court to remand the matter to the
arbitrator to clarify his meaning.
   Accordingly, we reverse and vacate the district court’s
September 6, 2019, order. We further remand the matter to the
district court to remand the matter to the arbitrator to amend
his April 25, 2016, decision to clarify the meaning of the first
two sentences as set forth earlier. More specifically, the district
court is ordered to remand for clarification from the arbitra-
tor whether the arbitrator intended to provide that Signal 88
is obligated to utilize all 122 days of posttermination services
from Lyconic and, if so, whether the arbitrator was communi-
cating the rate to be paid for those posttermination services.

                          CONCLUSION
   In sum, for the reasons set forth herein, we reverse and
vacate the district court’s September 6, 2019, order described
above and remand the matter to the district court with direc-
tions for the district court to remand the matter to the arbitrator
to amend its April 25, 2016, decision to clarify the meaning of
the sentences as discussed above.
               Reversed and vacated, and cause remanded
               for further proceedings.
